              Case 2:20-cv-01256-EJY Document 17 Filed 11/05/20 Page 1 of 4




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10                                 UNITED STATES DISTRICT COURT
11                                         DISTRICT OF NEVADA
12   RHONDA BESS,                               )
                                                )   Case No.: 2:20-cv-01256-EJY
13                 Plaintiff,                   )
                                                )   UNOPPOSED MOTION FOR EXTENSION OF
14          vs.                                 )   TIME TO FILE CERTIFIED
                                                )   ADMINISTRATIVE RECORD AND ANSWER;
15   ANDREW SAUL,                               )   DECLARATIONS OF JEBBY RASPUTNIS AND
     Commissioner of Social Security,           )   CHRISTIANNE VOEGELE
16                                              )
                   Defendant.                   )   (SECOND REQUEST)
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                  Case 2:20-cv-01256-EJY Document 17 Filed 11/05/20 Page 2 of 4




 1           Defendant, Andrew Saul, Commissioner of Social Security (the “Commissioner”), by and through
 2   his undersigned attorneys, hereby moves for a sixty-day extension of time to file the Certified
 3   Administrative Record (CAR) and answer to Plaintiff’s Complaint. The CAR and answer to Plaintiff’s

 4   Complaint are due to be filed by November 16, 2020. This is the Commissioner’s second request for an

 5   extension. The following provides the Court with an updated status of the agency’s ability to prepare

 6   CARs, including an updated declaration from Jebby Rasputnis.

 7           In light of the global COVID-19 pandemic, the Social Security Administration (“SSA” or the
     “Agency”) has taken the unprecedented step of suspending in-office services to the public:
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     https://www.ssa.gov/coronavirus/. The Agency is focusing on providing the most critical services by mail,
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     phone and online to those most in need. SSA is also taking additional steps to protect its employees and
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     help stop the spread of COVID-19, maximizing social distancing, including significantly limiting employee
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     access to SSA facilities for health and safety only and has moved toward a temporary virtual work
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     environment. Electronic processes allow some of SSA’s most critical work to continue with minimal
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     interruption; other workloads have been suspended until the health crisis abates or the Agency is able to
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     create new electronic business processes.
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             For purposes of this particular case, the public health emergency pandemic has significantly
16   impacted operations in the Social Security Administration’s Office of Appellate Operations (OAO) in Falls
17   Church, Virginia. That office is responsible for physically producing the administrative record that is
18   required to adjudicate the case under Sections 205(g) and (h) of the Social Security Act, 42 U.S.C. § 405(g)
19   and   (h).      See   SSA     Program        Operations   Manual   System   GN   03106.025,   available at
20   https://secure.ssa.gov/apps10/poms.nsf/lnx/0203106025.
21           As detailed in the attached declarations, beginning March 16, 2020, OAO’s staff members began

22   to telework to protect employee health and prevent further spread of COVID-19. At that time, critical in-

23   person physical tasks associated with preparing the administrative record could not be accomplished. For

24   example, prior to the COVID-19 pandemic, to safeguard Personally Identifiable Information (PII), all

25   hearing recordings, which are part of the administrative record, were downloaded onto compact discs and
     encrypted. OAO securely routed the encrypted discs to a private contractor through a daily pickup and
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     Unopposed Mot. for Ext.; 2:20-cv-01256-EJY        1
                Case 2:20-cv-01256-EJY Document 17 Filed 11/05/20 Page 3 of 4




 1   delivery service at the Official Duty Station (ODS) in Falls Church, Virginia. The private contractor would
 2   transcribe the hearing recording and send the paper copy of the hearing transcript back to OAO. OAO
 3   personnel would then scan the hearing transcript into the electronic record or place the hearing transcript

 4   in the paper case file. Thereafter, OAO personnel would assemble the administrative record in a prescribed

 5   order.

 6            To ensure a continuity of operations, OAO has been actively pursuing mitigation efforts to allow

 7   the remote preparation of administrative records. For cases in which the private contractors were already
     in possession of hearing recordings for transcription, with the assistance of the Office of Acquisitions and
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     Grants (OAG), OAO received approval to receive these transcripts from the private contractors via secured
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     email, e.g., using password protection and redacted Social Security Numbers. In April 2020, OAO began
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     receiving such hearing transcripts from private contractors via secured email.
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              For cases in which OAO had not yet submitted recordings to the private contractors before March
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     16, 2020, OAO has been pursuing all available options to obtain transcriptions for these cases. In May
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     2020, OAO began encrypting hearing recordings and securely emailing them to the contractors for
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     transcription. Through the month of May, OAO and the contractors worked to resolve technical issues that
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     arose, particularly with large files. The process is functioning now, albeit at only half of normal
16   productivity.
17            Given the volume of pending cases, Defendant requests an extension in which to respond to the
18   Complaint until January 15, 2021. If in sixty days the CAR is not prepared, the Commissioner will file a
19   status report with the Court as to when he expects the CAR to be completed.
20            On November 5, 2020, the undersigned conferred with Plaintiff’s counsel, who has no opposition
21   to the requested extension.

22            It is therefore respectfully requested that Defendant be granted an extension of time to file the CAR

23   and answer to Plaintiff’s Complaint, through and including January 15, 2021.

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     Unopposed Mot. for Ext.; 2:20-cv-01256-EJY    2
               Case 2:20-cv-01256-EJY Document 17 Filed 11/05/20 Page 4 of 4




 1           Dated: November 5, 2020
                                                      NICHOLAS A. TRUTANICH
 2                                                    United States Attorney
 3                                                    /s/ Allison J. Cheung
                                                      ALLISON J. CHEUNG
 4                                                    Special Assistant United States Attorney
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                                                      IT IS SO ORDERED:
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10                                                    UNITED STATES MAGISTRATE JUDGE

11                                                    DATED: November 5, 2020
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     Unopposed Mot. for Ext.; 2:20-cv-01256-EJY   3
